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                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



ELIZABETH ROMAIN, HERMAN                           Civil Action No. 1:16-cv-08470 (UA)
JIMINIAN, JEANETTE FELICIANO,
ALBIN DUCLET, and MARIA MOREIRA,
and On Behalf of The COBA ANNUITY
FUND and the COBA GENERAL FUND,

                      Plaintiffs,

       v.

NORMAN SEABROOK, ELIAS
HUSAMUDEEN, JOSEPH BRACCO,
ELIZABETH CASTRO, MICHAEL
MAIELLO, AMELIA WARNER, THOMAS                     VERIFIED DERIVATIVE COMPLAINT
FARRELL, KAREN TYSON, BENNY                        FOR      VIOLATIONS    OF    THE
BOSCIO, KENYATTA JOHNSON,                          RACKETEER      INFLUENCED    AND
ALBERT CRAIG, DANIEL PALMEIRI,                     CORRUPT     ORGANIZATIONS    ACT
ANGEL CASTRO, FREDERIC FUSCO,                      (RICO), BREACH OF FIDUCIARY DUTY,
PAULETTE BERNARD, PLATINUM                         UNJUST ENRICHMENT, AND FOR AN
MANAGEMENT (NY) LLC, MURRAY                        ACCOUNTING
HUBERFELD, DAVID BODNER, MARK
NORDLICHT, JONA RECHNITZ, JEREMY
REICHBERG, KOEHLER & ISAACS, LLP,
BUCHBINDER TUNICK & COMPANY,
DANIEL H. COOK AND ASSOCIATES,
and STERLING VALUATION GROUP,

                      Defendants,

and

COBA ANNUITY FUND and COBA
GENERAL FUND

                      Nominal Defendants.



       Plaintiffs Elizabeth Romain, Herman Jiminian, Jeanette Feliciano, Albin Duclet, and

Maria Moreira (collectively, “Plaintiffs”), by and through their undersigned counsel, bring this
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complaint derivatively, on behalf of the COBA Annuity Fund and the COBA General Fund for

violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §

1962, et seq., breach of fiduciary duty, aiding and abetting, and unjust enrichment, and directly,

for an equitable accounting and an accounting pursuant to the Labor Management Reporting and

Disclosure Act (“LMRDA”), 29 U.S.C. § 501(b).

       Plaintiffs are all active or retired correction officers and members of the Correction

Officers’ Benevolent Association (“COBA”). Defendants are various COBA executives and

officers, Fund fiduciaries, agents, and co-conspirators.

                                       INTRODUCTION

       1.       In June 2016, Norman Seabrook (“Seabrook”) COBA’s President, and Murray

Huberfeld (“Huberfeld”) a principal of Platinum Partners, operator of a New York City hedge

fund, were arrested by the Department of Justice (“DOJ”).

       2.       The DOJ indictment charged Seabrook and Huberfeld with honest services fraud

and wire fraud. A copy of the indictment is attached hereto as Exhibit 1.

       3.       According to the indictment, Huberfeld, on Platinum Partners’ behalf, bribed

Seabrook with $60,000 in cash, delivered in a Ferragamo bag, to invest funds from the COBA

Annuity Fund and the COBA General Fund in the Platinum Partners Value Arbitrage Fund

(“PPVA”).

       4.       The PPVA investment was a high-stakes venture, of the type which require that

an investor acknowledge that the entire investment may be lost before they are allowed to

deposit funds. It was not the type of prudent investment suited to a low-risk benefits fund.

       5.       Seabrook invested nearly 20% of the COBA Annuity Fund, and 40% of the

COBA General Fund, in the PPVA on his own cognizance.



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       6.       Seabrook was able to invest in the PPVA without either the approval or

knowledge of COBA’s Executive Board, which had, for years, failed to supervise Seabrook in

any meaningful way. Indeed, Seabrook had ensured the Executive Board’s quiescence through

liberal dispensations of gift cards, cars, and plush job assignments away from Rikers Island,

which ensured they exercised no due diligence over Seabrook’s activities.

       7.       COBA’s law firm, Koehler & Isaacs LLP (“Koehler & Isaacs”), was more loyal

to Seabrook than to COBA, the COBA Annuity Fund and the COBA General Fund. Although

Koehler & Isaacs knew that Seabrook had made the high stakes investment, its contract with

COBA could be imperiled if Koehler & Isaacs made any representations that called into question

Seabrook’s activities. Accordingly Koehler & Isaacs neither advised nor warned the Executive

Board about the investment. Instead, Koehler & Isaacs helped Seabrook co-opt the Executive

Board by providing the members with GPS devices and other luxury gifts.

       8.       PPVA was a Ponzi scheme, and has since declared bankruptcy. The COBA

Annuity Fund’s and the COBA General Fund’s investments are virtually worthless.

       9.       Accordingly, Plaintiffs here seek to hold Seabrook, the COBA Executive Board,

Platinum Partners and its principals, COBA’s law firm and auditor, responsible for the harm

suffered by the COBA Annuity Fund and the COBA General Fund.

       10.      Plaintiffs also seek an accounting from the Executive Board of the COBA

Annuity Fund, the COBA General Fund, the COBA Scholarship Fund, the COBA Widows’ and

Orphans’ Fund, the COBA Security Benefits Fund-Active, and the COBA Security Benefits

Fund-Retired (collectively, the “Funds,” unless identified individually).




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                                          PARTIES

   A. Active Duty Plaintiffs

       11.    Plaintiff Elizabeth Romain (“Romain”) is an active duty corrections officer, and

began working as a corrections officer in 1986. Romain is an active member of COBA, and is a

beneficiary of the COBA Annuity Fund and the COBA General Fund.

       12.    Plaintiff Herman Jiminian (“Jiminian”) is an active duty corrections officer, and

began working as a corrections officer in 2004. Jiminian is an active member of COBA, and is a

beneficiary of the COBA Annuity Fund and the COBA General Fund.

       13.    Plaintiff Jeannette Feliciano (“Feliciano”) is an active duty corrections officer,

and began working as a corrections officer in 1998. Feliciano is an active member of COBA,

and is a beneficiary of the COBA Annuity Fund and COBA General Fund.

   B. Retired Plaintiffs

       14.    Plaintiff Albin Duclet (“Duclet”) is a retired corrections officer, and worked as a

corrections officer from 1990 until 2016. Duclet is an associate member of COBA, and is a

beneficiary of the COBA Annuity Fund and COBA General Fund.

       15.    Plaintiff Maria Moreira (“Moreira”) is a retired corrections officer, and worked as

a corrections officers from 1996 until 2016. Moreira is an associate member of COBA, and is a

beneficiary of the COBA Annuity Fund and COBA General Fund.

   C. Nominal Defendants

       16.    Nominal Defendant COBA General Fund is the operating account for COBA, and

is managed by the COBA Executive Board (defined below). The COBA General Fund is

financed through dues paid by each active COBA member, collected by the City of New York

through payroll, and then turned over to COBA.


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        17.    Nominal Defendant COBA Annuity Fund is an employee retirement benefits

fund, which is funded primarily by New York City.           The City contributes to the fund

approximately $845 per year per correction officer who has been employed for five years or less,

and $1,411 per year per correction officers employed for more than five years. Upon retirement,

the COBA Annuity Fund provides the retired officer with an annuity benefit based upon certain

factors, including length of service and profit or loss based upon investment results and

administrative costs. The COBA Annuity Fund is managed by a subset of the COBA Executive

Board (as defined below), the COBA Annuity Fund Sub-Group Defendants (as defined below).

   D. COBA Defendants

        18.    Defendant Norman Seabrook (“Seabrook”) was the President of COBA from

approximately 1995 to June 2016. Upon information and belief, Seabrook is a citizen of New

York.

        19.    Defendant Marc Alan Steier (“Steier”) is the Director of Legal Affairs for

Defendant COBA. Upon information and belief, Steier is a citizen of New York.

        20.    Defendant Elias Husamudeen (“Husamudeen”) is and was, at all pertinent times,

the First Vice President of COBA, and now claims to be the Acting President of COBA. Upon

information and belief, Husamudeen is a citizen of New York.

        21.    Defendant Joseph Bracco (“Bracco”) is and was, at all pertinent times hereto, the

Second Vice President of COBA, and now claims to be the First Vice President.             Upon

information and belief, Bracco is a citizen of New York.

        22.    Defendant Elizabeth Castro (“Castro”) is and was, at all pertinent times hereto,

the Third Vice President of COBA and now claims to be the Second Vice President. Upon

information and belief, Castro is a citizen of New York.


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        23.   Defendant Michael Maiello (“Maiello”) is and was, at all pertinent times hereto,

the Treasurer of COBA. In his capacity as COBA Treasurer, Maiello is responsible for COBA

monies, including depositing COBA monies in such bank or investment institution that may be

selected or approved by the COBA Board. Upon information and belief, Maiello is a citizen of

New York.

        24.   Defendant Amelia Warner (“Warner”) is and was, at all pertinent times hereto, the

Financial Secretary of COBA. Upon information and belief, Warner is a citizen of New York.

        25.   Defendant Thomas Farrell (“Farrell”) is and was, at all pertinent times hereto, the

Legislative Chairman of COBA. Upon information and belief, Farrell is a citizen of New York.

        26.   Defendant Karen Tyson, f/k/a Karen Belfield (“Tyson”), is and was, at all

pertinent times hereto, the Recording Secretary of COBA. Upon information and belief, Tyson

is a citizen of New York.

        27.   Defendant Benny Boscio (“Boscio”) is and was, at all pertinent times hereto, the

Sergeant-At-Arms of COBA. Upon information and belief, Boscio is a citizen of New York.

        28.   Defendant Kenyatta Johnson (“Johnson”) is and was, at all pertinent times hereto,

the Corresponding Secretary of COBA. Upon information and belief, Johnson is a citizen of New

York.

        29.   Defendant Albert Craig (“Craig”) is and was, at all pertinent times hereto, either

First City Wide Trustee of COBA or the Manhattan Borough Trustee of COBA, a position he

formerly held. Upon information and belief, Craig is a citizen of New York.

        30.   Defendant Daniel Palmieri (“Palmieri”) is and was, at all pertinent times hereto,

the Bronx Borough Trustee of COBA. Upon information and belief, Palmieri is a citizen of New

York.



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        31.    Defendant Angel Castro (“Castro”) is and was, at all pertinent times hereto,

Manhattan Borough Trustee of COBA. Upon information and belief, Castro is a citizen of New

York.

        32.    Defendant Frederic Fusco (“Fusco”) is and was, at all pertinent times hereto, the

Queens Borough Trustee of COBA. Upon information and belief, Fusco is a citizen of New

York.

        33.    Defendant Paulette Bernard, f/k/a Paulette Johnson (“Bernard”), is and was, at all

pertinent times hereto, the Brooklyn Borough Trustee of COBA. Upon information and belief,

Bernard is a citizen of New York.

        34.    Defendants Seabrook, Husamudeen, Bracco, Castro, Maiello, Warner, Farrell,

Tyson, Boscio, Johnson, Craig, Palmieri, Castro, Fusco and Bernard, are or were members of the

Executive Board of COBA, and are referred to herein as the “Executive Board Defendants.”

        35.    Defendants Seabrook, Maiello, along with two other, unknown members of the

Executive Board, managed the Annuity Fund, and are referred to herein and the “Annuity Fund

Subgroup Defendants.”

        36.    The Executive Board Defendants and Steier are sued herein in their professional

and personal capacities.

   E. Platinum Partners Defendants

        37.    Defendant Platinum Management (NY) LLC (“Platinum Partners”) is a New York

Limited Liability Company. Platinum Management oversees the management of the Platinum

Partners hedge funds, including the PPVA.




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       38.    Defendant Murray Huberfeld (“Huberfeld”) is a co-founder and owner of

Platinum Partners. As a principal of Platinum Partners, Huberfeld oversees the investments of

the PPVA. Upon information and belief, Huberfeld is a citizen of New York.

       39.    Defendant David Bodner (“Bodner”) is a co-founder and owner of Platinum

Partners. As a principal of Platinum Partners, Bodner oversees the investments of the PPVA.

Upon information and belief, Bodner is a citizen of New York.

       40.    Defendant Mark Nordlicht (“Nordlicht”) is a co-founder and owner of Platinum

Partners. As a principal of Platinum Partners, Nordlicht oversees the investments of the PPVA.

Upon information and belief, Nordlicht is a citizen of New York.

   F. Other Individual Defendants

       41.    Defendant Jona Rechnitz (“Rechnitz”) is a businessman who acted as a liaison

between Platinum Partners and Seabrook and the Executive Board Defendants.              Upon

information and belief, Rechnitz is a citizen of New York.

       42.    Defendant Jeremy Reichberg (“Reichberg”) is a businessman who assisted

Rechnitz in serving as a liaison between Platinum Partners and Seabrook and the Executive

Board Defendants. Upon information and belief, Reichberg is a citizen of New York.

   G. Professional Defendants

       43.    Defendant Koehler & Isaacs, LLP (“Koehler & Isaacs”), is and was, at all

pertinent times hereto, the law firm for COBA.

       44.    Defendant Daniel H. Cook & Associates, Inc. (“Cook & Associates”), is and was,

at all pertinent times hereto, the administrator of the COBA Annuity Fund.

       45.    Buchbinder Tunick & Company, LLP (“Buchbinder Tunick”), is and was, at all

pertinent times hereto, the auditor for the COBA Annuity Fund and the COBA General Fund.



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        46.       Defendant Sterling Valuation Group (“Sterling Valuation”) provided valuation

and accounting services to Platinum Partners, including valuation and accounting services related

to the PPVA.

                                   JURISDICTION AND VENUE


        47.       This Court has federal question subject matter jurisdiction over this litigation, as a

substantial part of this action arises under the laws of the United States, 28 U.S.C. § 1331.

        48.       Venue is appropriate in this court as a substantial part of the events or omissions

giving rise to this litigation took place in this district.


                                  SUBSTANTIVE ALLEGATIONS


    A. Background

        49.       COBA is New York City’s largest correctional officers union, and the largest

municipal jail union in the United States. COBA represents more than 9,000 officers employed at

Rikers Island and other facilities.

        50.       COBA is managed by the ten members of the COBA Executive Board, and five

other trustees.

        51.       COBA is governed by a Constitution & By-Laws, last revised in January of 2013.

        52.       The COBA Annuity Fund operates as an employee retirement benefits fund,

financed primarily by the City. The City contributes approximately $845 per year for correction

officer who has been employed for five years or less, and $1,411 per year for corrections officers

employed for more than five years.




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        53.    Upon retirement, the COBA Annuity Fund provides the retired officer with an

annuity benefit based upon certain factors, such as length of service and profit or loss of the

fund.

        54.    Upon information and belief, the COBA Annuity Fund held approximately $81

million in assets at the end of 2013, including $72 million invested on the advice of various

investment advisors.

        55.    The COBA Annuity Fund is supposed to be administered by the Executive Board

Defendants, but at some unknown point in the past, the Executive Board devolved responsibility

for overseeing the Annuity Fund upon the Annuity Fund Sub-Group Defendants.

        56.    The COBA General Fund operates as COBA’s operating account, financed

through a dues checkoff from each active COBA member, collected by the City of New York

through payroll withholding, and then turned over to COBA. The City takes a small fee for

performing this service.

        57.    The COBA General Fund is funded through an annual budget process. Upon

information and belief, in June 2014, the COBA General Fund contained $8 million in cash.

        58.    The COBA General Fund is supposed to be administered by the Executive Board

Defendants.

   B. The Platinum Partners Investments

        59.    In late 2013, Seabrook, then the President of COBA, met Rechnitz through Phillip

Banks, formerly the highest ranking uniformed officer with the New York Police Department.

        60.    Shortly after meeting Seabrook, Rechnitz and Reichberg took him on an all-

expense paid trip to the Dominican Republic. During this trip, Seabrook told Rechnitz that he

worked hard to invest COBA’s money, and wanted to benefit personally from his investment



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decisions. According to information in the indictment filed against Seabrook, he explained to

Rechnitz, that it was time that “Norman Seabrook got paid.” Other Rechnitz and Reichberg

financed trips were made to Israel and Las Vegas.

       61.     Rechnitz introduced Seabrook to Huberfeld, who was actively attempting on

Platinum Partners’ behalf to find investors in the PPVA.

       62.     With the connivance of Rechnitz, Huberfeld agreed that if COBA funds were

invested with Platinum Partners, Platinum Partners would pay Seabrook a personal kickback in

exchange for facilitating the investment.

       63.     Platinum Partners agreed to pay Seabrook between $100,000 and $150,000,

dependent upon how much COBA invested with Platinum Partners.

       64.     In or around January 2014, Platinum Partners’ representatives met with the

Annuity Fund Sub-Group Defendants, to discuss investing in PPVA.               Following this

presentation, the Annuity Fund Sub-Group Defendants authorized an investment of $10 million

of the COBA Annuity Fund in the PPVA.

       65.     In August 2014, the Annuity Fund Sub-Group Defendants approved the

investment of an additional $5 million in the PPVA.

       66.     Upon information and belief, the Annuity Fund Sub-Group Defendants did not

seek prior approval of the Executive Board Defendants before making these investments.

       67.     In or around June 2014, an additional $5 million from the COBA General Fund

was invested in the PPVA by Seabrook without the Executive Board Defendant’s knowledge.

       68.     Maiello, in his role as role as COBA’s treasurer, signed off on the COBA Annuity

Fund and COBA General Fund investments without properly vetting the transaction.




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         69.   Steier, in his role as role as COBA’s legal counsel, knew that the COBA Annuity

Fund and COBA General Fund investments had not been properly vetted by the Executive

Board.

         70.   COBA’s Annuity Fund investment in PPVA represented an investment of nearly

20% of the monies in the COBA Annuity Fund.

         71.   The COBA Annuity Fund investments were made via wire transfer.

         72.   COBA’s General Fund investment in PPVA represented an investment of

approximately 40% of the monies in COBA’s General Fund.

         73.   The COBA General Fund investment was made via wire transfer.

   C. The Platinum Partners Kickback

         74.   In December 2014, Seabrook began demanding his first kickback payment from

Platinum Partners. Huberfeld, on Platinum Partners’ behalf, facilitated an initial payment of

$60,000 to Seabrook, using Rechnitz and Reichberg as intermediaries. Upon information and

belief, Seabrook’s kickback request was known to Bodner and Nordlicht.

         75.   On or about December 11, 2014, Rechnitz arranged to meet Seabrook to pay him

the $60,000 kickback in cash. The money was delivered to Seabrook on Lexington Avenue and

39th Street in a Ferragamo bag, purchased by Rechnitz especially for that purpose.

         76.   A few days later, Huberfeld arranged for Rechnitz to be reimbursed by Platinum

Partners. Rechnitz’ company created a fake invoice for 16 Knicks tickets, which were “sold” to

Platinum Partners for $60,000, or $7,500 per ticket (the Knicks were, at the time of the invoice,

4-20). The invoice was provided to Platinum Partners via e-mail.




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    D. Platinum Partners was a high-risk Ponzi Scheme

        77.    Platinum Partners generally, and PPVA specifically, were part of a Ponzi scheme,

and in fact, the COBA investment in PPVA was integral to the scheme’s continued survival.

        78.    As described in the indictment against Seabrook and Huberfeld, the PPVA

invested in assets in sectors such as energy, mining, and Asia-based arbitrage opportunities.

        79.    As no market existed for these assets, Platinum Partners initially valued them

internally.

        80.    After this internal evaluation, Sterling Valuation did an external valuation that,

upon information and belief, corroborated the values of Platinum Partner’s investments, without

properly reviewing or vetting them.

        81.    From 2012 forward, Platinum received far more redemption requests than capital

inflows; Platinum Partners met these redemption requests through a combination of high-interest

loans and paying investors out of capital inflows from new and existing investors.

        82.    Municipal investors, such as COBA, were key to keeping the PPVA scheme

moving forward, and COBA’s ability to contribute large amounts of capital provided a lifeline to

PPVA.

        83.    In the same month the COBA Annuity Fund made its initial $10 million

investment in the PPVA, the PPVA faced requests of several million dollars’ worth of

redemptions. On the same day that the $10 million was received by PPVA, $4.5 million in

redemption requests were immediately processed.

        84.    By August 2014, when the COBA Annuity Fund made its final PPVA investment,

COBA had become PPVA’s largest investor for the time period between 2013 and August 2014,

and had provided in excess of half of the PPVA’s funding for 2014.



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       85.     Even after the August 2014 investment, Huberfeld continued to solicit

investments from COBA, in part to meet $44 million in looming redemption requests. Internal

Platinum Partners emails described Seabrook being “worked” for investments, and that Seabrook

had promised that “he will send [Platinum Partners] more money shortly.”

       86.     In late May, 2015, the United States District Attorney’s Office for the Southern

District of New York served subpoenas on COBA and Platinum Partners.

       87.     In June 2016, Huberfeld and Seabrook were arrested by the federal government

and charged with honest services fraud and wire fraud.

       88.     In early July 2016, Platinum Partners announced that it would liquidate its funds,

including the PPVA.

       89.     In August 2016, a liquidator was appointed by a Cayman Islands court.

       90.     On October 19, 2016, PPVA filed for Chapter 15 bankruptcy protection in the

United States, citing “severe and substantial liquidity problems.”

   E. The Executive Board Defendants Provided No Meaningful Check on Seabrook

       91.     Although required, under New York’s Not-For-Profit Corporation Law, §§ 717

and 719, to oversee the investments of the COBA Annuity Fund and the COBA General Fund,

the Executive Board completely abnegated its responsibility to do so.

       92.     Had the Executive Board exercised even a modicum of its oversight responsibility

by putting in proper safeguards to prevent illegal and improper activity, it would have been

impossible for Seabrook to have invested the monies of the COBA Annuity Fund and the COBA

General Fund into a high risk, hard to value investment vehicle like PPVA; let alone an

investment of nearly 20% of the COBA Annuity Fund, and 40% of COBA General Fund.




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       93.     Moreover, the Annuity Fund Sub-Group Defendants knew, or should have

known, that the PPVA investment was highly risky. Upon information and belief, these Annuity

Fund Sub-Group Defendants were informed by Koehler & Isaacs that Platinum Partner’s

subscription agreement required the COBA Annuity Fund to acknowledge that it had “the

financial ability to bear the economic risk of losing its entire investment,” an acknowledgment

that typically accompanies investments in high-risk vehicles, and is atypical of the type of

investment usual for a prudent investor, especially an investor charged with safeguarding

workers’ retirement funds.

       94.     Although Koehler & Isaacs’ fiduciary duty was to COBA as a whole as well as to

the COBA Annuity Fund and COBA General Fund, Koehler & Isaacs took no steps to inform the

Executive Board Defendants that the PPVA investment was one that was high risk. Nor did

Koehler & Isaacs inform the Board that the PPVA investment represented almost 20% of the

entire COBA Annuity Fund.

       95.     Buchbinder Turnick, as the auditor of the COBA Annuity Fund knew or should of

known that 20% of the entire COBA Annuity Fund had been invested in a high-risk, hard to

value investment, but did not inform the Executive Board.

       96.     The PPVA investment is now worthless.

   F. The Executive Board Defendants a Provided No Meaningful Check On Seabrook
      Because He Gave These Defendants Substantial Benefits To Look the Other Way

       97.     Each of the members of the Executive Board was personally selected by

Seabrook, and their continued service on the Executive Board was due to their personal fealty to

Seabrook.

       98.     Service on the Executive Board entitled the Executive Board Defendants to extra

compensation, over and above that received by them in their positions as corrections officers.

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       99.     Further, service on the Executive Board allowed the Executive Board Defendants

to work only during daytime hours, and allowed them to avoid service at Rikers Island. Instead,

they were given offices at the COBA headquarters.

       100.    The Executive Board Defendants received substantial emoluments from COBA’s

various vendors, including envelopes stuffed with gift cards, delivery of which was arranged by

Seabrook.

       101.    On one occasion, Cook & Associates provided each of the Executive Board

Defendants with between $500 and $1000 in cash, and each year provided the Executive Board

Defendants with annual Christmas gifts.

       102.    On one occasion, Koehler & Isaacs provided the Executive Board Defendants

with expensive GPS systems. Other substantial emoluments were also provided by Koehler &

Isaacs to the Executive Board Defendants as annual Christmas gifts. Seabrook himself bragged

that Koehler & Isaacs provided him with a black no-limit American Express Card.

       103.    Various vendors also provided the Executive Board Defendants with tickets to

sporting events and concerts.

       104.    Seabrook made sure that Executive Board Defendants were provided with access

to cars, including money for gas, tolls, and maintenance.

       105.    Seabrook’s benefices, liberally bestowed, ensured that the Executive Board

Defendants turned a blind eye to any suspicious conduct, and failed to put in place any

safeguards to protect the COBA members and their hard earned funds.

       106.    But for the Executive Board Defendants’ dereliction of their fiduciary duties,

Seabrook would have been unable to invest in Platinum Partners.




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                                    DEMAND FUTILITY

   A. Demand by Romain, Jiminian, and Feliciano upon the COBA Board that they Act
      Would Be Futile

       107.    As described above, each of the Executive Board Defendants was and is complicit

in Seabrook’s Breach of Fiduciary Duty.

       108.    By virtue of their positions on the Executive Board, the Executive Board

Defendants owed COBA and its members the fiduciary duties of loyalty, good faith, due care,

and disclosure in the management and administration of the COBA Annuity Fund and COBA

General Fund. The conduct of the Defendants complained of herein involves a knowing and

culpable violation of their obligations as members of the Executive Board, the absence of good

faith on their part, and a reckless disregard for their duties to the COBA Annuity Fund and

COBA General Fund. The Defendants were aware, or should have been aware, that those

violations, absences of good faith, and the reckless disregard of duties, posed a risk of serious

injury to the COBA Annuity Fund and COBA General Fund.

       109.    A demand upon the Executive Board Defendants that they institute litigation

against Seabrook and themselves, would be a useless and futile act. Accordingly, demand is

excused.

       110.    Thus, Romain, Jiminian, and Feliciano may institute and prosecute this litigation

derivatively on COBA’s behalf.

   B. As Non-Active COBA Members, Duclet and Moreira are not Required to Make a
      Demand

       111.    As described in COBA’s Constitution and By-Laws, only Active Members of

COBA may make a demand upon the Executive Board that they investigate and remedy

misconduct involving COBA members.



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       112.    Duclet and Moreira are retired, and are not considered Active Members of COBA.

       113.    Accordingly, though they are beneficiaries of the COBA Annuity Fund Duclet

and Moreira have no method to demand that the COBA Executive Board act to remedy the

harms suffered by COBA.

       114.    Thus, Duclet and Moreira may institute and prosecute this litigation derivatively

on COBA’s behalf.


                                             COUNT I
 (Civil Violations of RICO by all Plaintiffs on Behalf of the COBA Annuity Fund and the
COBA General Fund Against Defendants Seabrook, Platinum Partners, Huberfeld, David
    Bodner, Nordlicht, Rechnitz, Reichberg, Sterling Valuation and Koehler & Isaacs)


       115.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       116.    The COBA General Fund and COBA Annuity Fund are “person(s)” within the

meaning of 18 U.S.C. § 1967(c).

       117.    At all times relevant hereto, the COBA General Fund and COBA Annuity Fund

and each Member of the Enterprise were “persons” within the meaning of 18 U.S.C. § 1961(3).

                                      The RICO Enterprise

       118.    An enterprise need not be a specific legal entity but rather may be “any union or

group of individuals associated in fact although not a legal entity.”

       119.    The enterprise at issue in this case, for purposes of 18 U.S.C. 1961(3) and

1962(a), 1962(b), 1962(c) and 1962(d) is an association-in-fact collectively referred to herein as

“the Enterprise.”




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       120.     The Enterprise consists of Defendants Seabrook, Platinum Partners, Huberfeld,

Bodner, Nordlicht, Rechnitz, Reichberg, Sterling Valuation, and Koehler & Isaacs (“RICO

Defendants”).

       121.     The RICO Defendants maintained an interest in and control of the Enterprise and

also conducted or participated, to a lesser or greater extent, in the conduct of the Enterprise’s

affairs through a pattern of racketeering activity.

       122.     The RICO Defendants also have an existence separate and distinct from the

Enterprise.

       123.     The RICO Defendants’ control and participation in the Enterprise were necessary

for the successful operation of Defendants’ scheme.

       124.     The Enterprise had an ascertainable structure separate and apart from the pattern

of racketeering activity in which the RICO Defendants engaged.

       125.     The number of wrongdoers in the Enterprise fluctuated depending on the number

of co-conspirators that were colluding on each particular predicate crime.

       126.     The members of the Enterprise shared money, costs, information, resources and

the fruits of its predicate acts. The association-in-fact Enterprise functioned as a continuing unit,

pursuing a course of conduct as set forth herein, with a common and shared purpose with a

continuity of structure and personnel.

       127.     The RICO Defendants and all those employed by or associated with the

Enterprise, which engaged in interstate commerce, have conducted the affairs of the Enterprise

through a pattern of racketeering activity in violation of 18 U.S.C. 1962 §§ (a)(b)(c) & (d) by

pursuing or facilitating kickbacks, bribes, breaches of fiduciary duties, and acts of fraud against

the COBA Annuity Fund and COBA General Fund.



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       128.    The RICO Defendants have violated 18 U.S.C. § 1962 by knowingly,

intentionally, and unlawfully, aiding and abetting each other and the Enterprise by participating,

directly or indirectly, in the conduct of the affairs of the Enterprise, through the pattern of

racketeering activity described herein.

       129.    The particulars of the scheme as set forth above were achieved through the use of

the mails and/or wires.

                                           Predicate Acts

       130.    With respect to the activities alleged herein, the Enterprise acted at all time with

malice towards the COBA Annuity Fund and COBA General Fund, with the intent to engage in

the conduct complained of for the monetary benefit of RICO Defendants and other members of

the Enterprise. Such conduct was done with actionable wantonness and reckless disregard for the

rights of the COBA Annuity Fund and COBA General Fund.

       131.    The RICO Defendants, as members of the Enterprise, conspired with other co-

conspirators to violate 18 U.S.C § 1962, by soliciting kickbacks and bribes in violation of State

and Federal law, and by converting and/or misappropriating funds belonging to t the COBA

Annuity Fund and COBA General Fund for their personal use through racketeering activity.

       132.    The Enterprise’s schemes have resulted in severe financial losses to the COBA

Annuity Fund and COBA General Fund. Moreover, as a result of the Enterprise’s racketeering

activity, the COBA Annuity Fund and COBA General Fund have suffered extensive monetary

damages, in the tens of millions of dollars.

       133.    18 U.S.C. § 1961(1) provides that “racketeering activity means any act indictable

under any of the following provisions of Title 18, United States Code:” § 1343 (relating to wire

fraud)... § 1346 (relating to scheme or artifice to defraud).



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       134.    On June 8, 2016, Seabrook and Huberfeld were indicted by a grand jury in the

Southern District of New York for violations of Title 18, United States Code, Sections 1343,

1346, 1349, and 2.

       135.    The indictment and complaint by the United States Attorney documented multiple

acts of honest services fraud and wire fraud, as all part of a scheme by the RICO Defendants to

deprive and defraud the COBA membership of its funds, through the depletion of multiple

accounts, the misappropriation of COBA funds for personal use, and the receipt of excessive

gifts, bribes, and kickbacks from vendors, at the expense of the membership.

                                 Effect on Interstate Commerce

       136.    The Enterprise described above has engaged in and has effected interstate

commerce by acts including the transmission of monies across state lines, including to the

Cayman Islands by wire, by transmission of correspondence, emails, and letters across state

lines, by operating the business of the members of the Enterprise through activities across state

lines, including travel across state lines and internationally, and by conducting economic activity

affecting large national industries and multiple states.

                                            COUNT II
  (Breach of Fiduciary Duty Claim by all Plaintiffs on Behalf of the COBA Annuity Fund
                and the COBA General Fund Against Defendant Seabrook)

       137.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       138.    By reason of his fiduciary relationship with COBA and his position, Seabrook

owed and owe the COBA Annuity Fund and the COBA General Fund the highest obligation of

loyalty, good faith, due care, oversight, and candor.




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       139.    In derogation of these duties, Seabrook did, in exchange for substantial

remuneration from Platinum Partners, invest approximately $20 million in COBA funds from the

COBA Annuity Fund and the COBA General Fund, in PPVA.

       140.    This investment was not, and could not have been, a valid exercise of business

judgment.

       141.    As a result of Seabrook’s breach of fiduciary duty, the COBA Annuity Fund and

the COBA General Fund have sustained significant damages, as alleged herein.

       142.    Seabrook is liable to the COBA Annuity Fund and the COBA General Fund for

the damages sustained.

       143.    Plaintiffs, on behalf of the COBA Annuity Fund and COBA General Fund, have

no adequate remedy at law.


                                           COUNT III
  (Breach of Fiduciary Duty Claim by all Plaintiffs on behalf of the COBA Annuity Fund
                          Against Steier and Koehler & Isaacs)

       144.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       145.    By reason of their fiduciary relationship with COBA and the COBA Annuity

Fund, Steier and Koehler & Isaacs owed and owe the COBA Annuity Fund the highest

obligation of loyalty, good faith, due care, oversight, and candor.

       146.    In derogation of these duties, and despite knowing that the Platinum Partners

investment was imprudent, and that the Annuity Fund was unable to sign the acknowledgement

that it had “the financial ability to bear the economic risk of losing its entire [PPVA]

investment,” Steier and Koehler & Isaacs did not inform the Executive Board that Annuity Fund

had invested $15 million in the PPVA.

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       147.       Steier and Koehler & Isaacs did not do so, because their primary loyalty was to

Seabrook, not to their clients: COBA and the COBA Annuity Fund.

       148.       As a result of Steier’s and Koehler & Isaacs’ breach of fiduciary duty, the COBA

Annuity Fund has sustained significant damages, as alleged herein.

       149.       Steier and Koehler & Isaacs are liable to the COBA Annuity Fund for the

damages sustained.

       150.       Plaintiffs, on behalf of the COBA Annuity Fund, have no adequate remedy at law.


                                             COUNT IV
  (Breach of Fiduciary Duty Claim by all Plaintiffs on Behalf of the COBA Annuity Fund
           and COBA General Fund Against the Executive Board Defendants)

       151.       Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       152.       By reason of their fiduciary relationship with COBA and their positions on the

Executive Board, the Executive Board Defendants owed and owe COBA the highest obligation

of loyalty, good faith, due care, oversight, and candor.

       153.       In derogation of these duties, the Executive Board Defendants failed to implement

safeguards that would have prevented the conduct alleged herein, including Seabrook’s waste of

the assets of the COBA Annuity Fund and COBA General Fund.

       154.       As a result of the Executive Board Defendants’ breaches of fiduciary duty, the

COBA Annuity Fund and the COBA General Fund have sustained significant damages, as

alleged herein.

       155.       The Executive Board Defendants are liable to the COBA Annuity Fund and the

COBA General Fund for the misconduct alleged herein.



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       156.    Plaintiffs, on the COBA Annuity Fund’s and the COBA General Fund’s behalf,

have no adequate remedy at law.


                                           COUNT V

   (Unjust Enrichment Claim by all Plaintiffs on Behalf of the COBA Annuity Fund and
              COBA General Fund Against the Executive Board Defendants
       157.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       158.    By their wrongful acts and omissions, the Executive Board Defendants were

unjustly enriched at the expense of and to the detriment of COBA Annuity Fund and COBA

General Fund. The Executive Board Defendants were unjustly enriched as a result of the

excessive compensation, remuneration, and gifts they received while breaching fiduciary duties

owed to COBA.

       159.    Plaintiffs seek restitution from these defendants, and each of them, and seek an

order of this Court disgorging all profits, benefits, gifts, and compensation obtained by these

defendants, and each of them, from their wrongful conduct and fiduciary breaches.

       160.    Plaintiffs, on behalf of COBA, have no adequate remedy at law.


                                           COUNT VI
 (Aiding and Abetting Breaches of Fiduciary Duty Claim by all Plaintiffs on Behalf of the
  COBA Annuity Fund and the COBA General Fund Against Koehler & Isaacs, Cook &
                          Associates, and Buchbinder Tunick)

       161.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       162.    Seabrook was able, through the use of gifts, such as GPS devices and sporting and

concert tickets, from corporate vendors, including Koehler & Isaacs, Cook & Associates, and



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Buchbinder Tunick, to maintain his control over the Executive Board Defendants, and to ensure

that they did not inquire into his conduct and machinations.

       163.    Koehler & Isaacs, Cook & Associates, and Buchbinder Tunick knew that

Seabrook was using these gifts, and promises of continued access to them, to maintain his

control over the Executive Board Defendants, and to ensure that they did not inquire into his

conduct and machinations.

       164.    Accordingly, Koehler & Isaacs, Cook & Associates, and Buchbinder Tunick

aided and abetted Seabrook in his breaches of fiduciary duty to the COBA Annuity Fund and

COBA General Fund.

       165.    Moreover, Koehler & Isaacs, Cook & Associates, and Buchbinder Tunick as the

COBA Annuity Fund and COBA General Fund lawyers, administrators, and auditors,

respectively, knew of Seabrook’s breaches of fiduciary duty, but did nothing.

       166.    Plaintiffs, on behalf of the COBA Annuity Fund and the COBA General Fund,

have no adequate remedy at law.


                                           COUNT VI
(Claim by all Plaintiffs Directly Against the Executive Board Defendants For an Equitable
       Accounting and an Accounting Pursuant to LMRDA § 29 U.S.C. § 501(b))

       167.    Plaintiffs incorporate by reference and re-allege each and every allegation

contained above, as though fully set forth herein.

       168.    The Executive Board Defendants, as the day to day operators of COBA Annuity

Fund, the COBA General Fund, the COBA Widows’ and Childrens’ Benefit Fund, the COBA

Scholarship Fund, the COBA Security Benefits Fund-Active, and the COBA Security Benefits

Fund-Retired, owed and owe a fiduciary duty to the Plaintiffs to use the monies received in the



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best interests of the Funds, and to do so in the utmost good faith, honestly, diligently, and

without preference to their own interests

       169.    As to the COBA Annuity Fund and the COBA General Fund, the Executive

Board Defendants have breached their fiduciary duty,

       170.    Moreover, the Executive Board Defendants oversee the COBA Widows’ and

Children’s’ Benefits Fund, the COBA Scholarship Fund, the COBA Security Benefits Fund-

Active, and the COBA Security Benefits Fund-Retired, and the Executive Board Defendant’s

conduct with respect to the Funds is suspect.

       171.    Plaintiffs are entitled to an equitable accounting of the business, finances, and

affairs of each of the Funds


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs demand judgment as follows:

   a. Against all of the Executive Board Defendants, Steier, Koehler & Isaacs, Cook &

       Associates, and Buchbinder Tunick in favor of the COBA Annuity Fund and the COBA

       General Fund for the amount of damages sustained by them as a result of the Executive

       Board Defendants’ breaches of fiduciary duties;

   b. Against all of the RICO Defendants and in favor of the COBA Annuity Fund and the

       COBA General Fund for the amount of damages sustained by them as a result of the

       RICO Defendants’ conspiracy;

   c. An order directing the removal of each the Executive Board Defendants, and their

       replacement by new Executive Board members, elected by the active members of COBA;

   d. An order directing an accounting of the Funds

   e. Awarding to Plaintiff the costs and disbursements of the action, including reasonable


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         attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

    f. And such other relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY

Plaintiffs demand a trial by jury on all issues so triable.



Dated:          New York, New York
                October 31, 2016


                                                Respectfully,

                                                NEWMAN FERRARA LLP


                                                By:   s/ Jeffrey M. Norton

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